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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
v.                                   :   No.: 21-cr-036 (CJN)
                                     :
GINA BISIGNANO                       :
                   Defendant.        :
____________________________________:

     SUPPLEMENT TO UNITED STATES’ MOTION TO REVOKE RELEASE ORDER

         The United States of America, by and through its undersigned attorney, files this

supplement to its Motion To Revoke Release Order (the “Motion”), ECF No. 80. In that filing,

the United States noted, “the violations the United States has been able to report in this filing may

well be only the tip of the iceberg of Bisignano’s violative conduct and efforts to conceal it.” Id.

at 29. Just a day later, more evidence suggests this may be true.

         On January 29, 2024, the United States received an unsolicited report of Gina Bisignano’s

active presence on TikTok, through the account @ginasbeverlyhills.1 According to TikTok

metrics, shown below as of January 29, 2024, the account has over 5,500 followers, has liked over

1,000 posts. And while the account markets Bisignano as a “Salon Owner,” it also promotes her

as a “Capitol Tourist ‘J6.’” Bisignano’s use of TikTok is yet another in a long line of Bisignano’s

violations of this Court’s order.




1
    https://www.tiktok.com/@ginasbeverlyhills?lang=en.
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Court slightly modified Bisignano’s release conditions to allow her to use Instagram “for the

limited purpose of booking clients.” Id. at 48.

       This video—which predates the May 4, 2023 violation hearing but came to the attention of

the United States only today—goes beyond a technical violation of Bisignano’s conditions.3 It

underscores the degree to which Bisignano has endeavored to intentionally violate the Court’s

orders and evade detection. That Bisignano disguised the video celebrating the January 6 riot (and

offering to give proceeds to “the J6 defendants”) as one promoting her business is a clear challenge

to the Court’s authority, and abuses the benefit of the doubt the Court afforded Bisignano in

allowing her to promote her business using Instagram.

                                         CONCLUSION

       Bisignano has shown time and again that she has no respect for this Court’s orders. For

these reasons, and the reasons articulated in the Motion, the Court should grant the motion, issue

a bench warrant for Bisignano, pursuant to 18 U.S.C. § 3148(b), for violating the conditions of her

release, revoke her pretrial release order, and detain her pending sentencing for convicted conduct,

including the Section 231 felony, and pending trial on her remaining counts.

                                              Respectfully submitted,

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                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052

                                      By:       /s/
                                              ANTHONY W. MARIANO
                                              MA Bar No. 688559


3
 Although this conduct predates the May 4, 2023 hearing, it is an important incident in Bisignano’s
pattern of violations, which, as noted in the Motion, despite repeated warnings, have continued.
Given restrictions on the use of TikTok on government devices, the government has been unable
to confirm at this time whether Bisignano has posted on TikTok since the May 4, 2023 hearing.
However, the government can confirm that her account still publicly exists as of this filing, and
that the video discussed herein still appears on that account.
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